Case 1:24-cr-00045-SAG Document1 Filed 02/13/24 Page 1of3

LNE 2.4.24
JIH: USAO 2023R00566

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA x UJ uf
v. * CRIMINAL races >
*
SEDRIC CATCHINGS, * (Possession of Ammunition by a
* Prohibited Person, 18 U.S.C.
Defendant. * § 922(g)(1); Forfeiture, 18 U.S.C.
* § 924(d), 21 U.S.C. § 853(p), 28
* U.S.C. § 2461(c))
KReRKKEK
INDICTMENT
COUNT ONE

(Possession of Ammunition by a Prohibited Person)
The Grand Jury for the District of Maryland charges that:
On or about July 26, 2023, in the District of Maryland, the Defendant,
SEDRIC CATCHINGS,
knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed ammunition, to wit, approximately 49 cartridges of 9mm
ammunition, which were in and affecting commerce.

18 U.S.C. § 922(g)(1)

Case 1:24-cr-00045-SAG Document1 Filed 02/13/24 Page 2 of 3

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the Defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 924(d),
21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the Defendant’s conviction under the
offense charged in Count One of this Indictment.

Firearm and Ammunition Forfeiture

2s Upon conviction of the offense alleged in Count One, the Defendant,
SEDRIC CATCHINGS,
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any
firearms and ammunition involved in the offense, including but not limited to:

(a) a black Polymer80 Inc. model PF940C 9mm privately made firearm,
bearing no serial number;

(b) a purple Polymer80 Inc. model PF940C 9mm privately made firearm,
bearing no serial number; and

(c) approximately 49 rounds of 9mm ammunition.
Substitute Assets
3. If, as a result of any act or omission of the defendant, any of the property described

above as being subject to forfeiture:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without

difficulty,

Case 1:24-cr-00045-SAG Document1 Filed 02/13/24 Page 3 of 3

the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.
§ 2461(c).

18 U.S.C. § 924(d)

21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

end Bean lt

Erek L. Barron
United States Attorney

QIQNATHUDE DENANTENn

RE REDACTED al
SIGNATU ra

~Foreperson Date

